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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   WESTERN DIVISION


 JAMES A. EGLE,
                                                           CASE NO.: 3:19-cv-50064
                     Plaintiff,
                                                           JUDGE:
         -v-

 FINANCIAL BUSINESS AND CONSUMER                           COMPLAINT
 SOLUTIONS, INC.,                                          JURY DEMAND ENDORSED HEREON

                     Defendant.


       Plaintiff, James A. Egle (“Mr. Egle”), for his complaint against Financial Business and

Consumer Solutions, Inc., (“Defendant”), states as follows:

                                      NATURE OF THE ACTION

  1.   Mr. Egle brings this action seeking damages pursuant to the Fair Debt Collection Practices

Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”), and the Illinois Consumer Fraud and Deceptive

Business Practices Act, 815 ILCS 505/10a (“ICFA”), for Defendant’s unlawful collection practices

as more fully described in this complaint.

                                     JURISDICTION AND VENUE

  2.   This action arises under and is brought pursuant to the FDCPA. Subject matter jurisdiction

is therefore conferred upon this Court by 15 U.S.C § 1692k and 28 U.S.C. §§ 1331, 1337, as the

action arises under the laws of the United States. Supplemental jurisdiction exists for the state law

claim pursuant to 28 U.S.C. § 1367.

  3.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as Defendant transacts business

in the Northern District of Illinois and the events and/or omissions giving rise to the claims made

in this complaint occurred within the Northern District of Illinois.
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                                             PARTIES

  4.    Mr. Egle is a natural adult person residing in Woodstock, Illinois, which lies within the

Northern District of Illinois.

  5.    Mr. Egle is a “consumer” as defined by § 1692a(3) of the FDCPA.

  6.    Mr. Egle is a “person” as that term is defined and/or used within the ICFA.

  7.    Defendant is a Pennsylvania corporation in the business of collecting consumer debts on

behalf of others within the State of Illinois and throughout the United States. As such, Defendant

regularly uses the mail and/or telephone to collect, or attempt to collect, delinquent consumer

accounts.

  8.    In its communications to consumers, Defendant identifies itself as a “debt collector.”

  9.    Defendant is a “debt collector” as defined by § 1692a(6) of the FDCPA.

 10.    Defendant is a “person” as that term is defined and/or used within the ICFA.

 11.    Defendant acted through its agents, employees, officers, members, directors, successors,

assigns, principals, trustees, sureties, subrogees, representatives and/or insurers at all times

relevant to this action.

                                 FACTS SUPPORTING CAUSES OF ACTION

  12. On or around April 13, 2018, as Mr. Egle was reviewing his credit, he noticed Midland

Credit Mgmt (“MCM”) had accessed his credit report for a collection purpose on October 1, 2017,

October 4, 2017, October 5, 2017 and October 6, 2017. Relevant pages from Mr. Egle’s Trans

Union credit report, dated April 13, 2018, are attached to this complaint as Exhibit A.

  13. Thereafter, on or around April 13, 2018, Mr. Egle contacted MCM to obtain information

as to why MCM had accessed his credit report 4 times in a 5 day period in October, 2017.




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  14.   In response to Mr. Egle’s call, MCM’s agent directed him to contact Defendant at 866-

594-8640 for additional information as to why MCM accessed his credit report.

  15. Thereafter, on or around April 13, 2018, Mr. Egle contacted Defendant via phone to

ascertain more information as to why MCM accessed his credit report (the “Phone Call”).

  16. During the Phone Call, Mr. Egle spoke with an agent for Defendant, who identified

Defendant as a debt collector attempting to collect upon a debt.

  17. During the Phone Call, Defendant’s agent represented to Mr. Egle that he owed Defendant

a total balance of $7,090.47 in regards to two (2) debts owed to “Chase”.

  18. Defendant’s agent stated one account was opened from 2003-2010 and another account

was opened from 2005-2010 (the “Subject Debts”).

  19. Defendant’s agent thereafter attempted to collect payment of the Subject Debts from Mr.

Egle offering a reduced balance installment payment plan of $709.05 a month for 6 months and a

hardship payment plan of $90.46 down and $25.00 a month thereafter to put the Subject Debts’ in

“paying status”.

  20. As of April 13, 2018, the date of the Phone Call, the Subject Debts were time-barred debts,

i.e., they fell outside the applicable statute of limitations period.

  21. The applicable statute of limitations for the Subject Debt states, in relevant part:

                “Except as provided in Section 2-725 of the ‘Uniform Commercial Code’,
                approved July 31, 1961, as amended, and Section 11-13 of ‘The Illinois
                Public Aid Code’, approved April 11, 1967, as amended, actions on
                unwritten contracts, expressed or implied . . . shall be commenced within 5
                years next after the cause of action accrued.” See 735 ILCS § 5/13-205.

  22. Despite the time-barred status of the Subject Debts, at no point during the Phone Call did

Defendant’s agent disclose or explain to Mr. Egle that by paying, or just agreeing to pay, any

portion of the Subject Debts, or merely acknowledging the Subject Debts as valid, it could have



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the effect of resetting the applicable statute of limitations as to the Subject Debts, potentially

subjecting Mr. Egle to further legal liability.

  23. After a reasonable time to conduct discovery, Mr. Egle believes he can prove that all

actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

                                                  DAMAGES

  24. In conjunction with MCM’s account review of Mr. Egle’s credit report, Mr. Egle was

misled by the Phone Call demanding payment on the time-barred Subject Debts

  25. Mr. Egle justifiably fears that, absent this Court’s intervention, Defendant will continue to

attempt to collect payment from him using abusive, deceptive and unlawful means, and ultimately

cause him unwarranted economic harm.

  26. Due to Defendant’s conduct, Mr. Egle was forced to hire counsel and his damages therefore

include reasonable attorneys’ fees incurred in prosecuting this action.

  27. After a reasonable time to conduct discovery, Mr. Egle believes he can prove that all

actions taken by Defendant as described in this complaint were taken willfully and/or with

knowledge that its actions were taken in violation of the law.

  28. Due to Defendant’s conduct, Mr. Egle is entitled to statutory damages, punitive damages

and all other appropriate measures to punish and deter Defendant and other debt collection

agencies from engaging in the unlawful collection practices described herein.




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                                    GROUNDS FOR RELIEF

                                         COUNT I
                  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                          15 U.S.C. §§ 1692e, e(2)(A), e(10) and f

 29.   All prior paragraphs are incorporated into this count by reference.

 30.   The FDCPA states, in relevant part:

                    “A debt collector may not use any false, deceptive, or misleading
                   representation or means in connection with the collection of any debt.
                   Without limiting the general application of the foregoing, the
                   following conduct is a violation of this section: (2) The false
                   representation of -- (A) the character, amount, or legal status of any
                   debt; (10) The use of any false representation or deceptive means to
                   collect or attempt to collect any debt or to obtain information
                   concerning a consumer.” 15 U.S.C. §§ 1692e, e(2)(A) and e(10).

                   “A debt collector may not use unfair or unconscionable means to
                   collect or attempt to collect any debt.” 15 U.S.C. § 1692f.

 31.   Defendant violated 15 U.S.C. §§ 1692e, e(2)(A), e(10), and f during the Phone Call. The

Phone Call was unfair, deceptive and misleading because it attempted to collect the Subject Debts

despite omitting the disclosure of any information to Mr. Egle whatsoever regarding the Subject

Debt’s time-barred status and/or failed to notify Mr. Egle that any payment he made toward the

Subject Debts, or even arranging to pay, could reset the applicable statute of limitations as to the

entire balance of the Subject Debts.

 32.   Defendant knew that the applicable statute of limitations to collect on the Subject Debts

had expired and were time-barred, yet failed to provide Mr. Egle with complete and/or accurate

disclosure of the repercussions of same during the Phone Call.

 33.   Such representations and/or omissions served only to confuse and intimidate Mr. Egle in

the hopes that he waived his rights and affirmative defenses under the law. Mr. Egle was unable

to adequately determine the character and legal status of the Subject Debts based upon Defendant’s



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representations and/or omissions, and was unable to adequately determine the potential legal

consequences of making, or arranging to make, a payment on the Subject Debts.

 34.   As an experienced debt collector, Defendant knows that its representations to consumers

concerning the legal status of an alleged debt owed, and the consumer’s rights under the FDCPA

and/or the applicable statute of limitations, are required to be truthful, complete and accurate, and

disclosed without any intent to mislead or deceive.

 35.   As Mr. Egle had no prior contractual relationship or dealings with Defendant, he was

justifiably confused and skeptical of the representations and/or omissions regarding the legal status

of the Subject Debts, as well as Defendant’s ability to legally collect upon it.

 36.   As set forth in paragraphs 24 through 28 above, Mr. Egle has been harmed and has suffered

damages as a result of Defendant’s unlawful collection practices as described herein.

                                       COUNT II
   VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                                    815 ILCS 505/2

 37.    All prior paragraphs are incorporated into this count by reference.

 38.    Defendant’s collection activity in connection with the Subject Debt constitutes “conduct

 of any trade or commerce” as that phrase is defined and/or used within the ICFA.

 39.    The ICFA states, in relevant part:

                     “Unfair methods of competition and unfair or deceptive acts
                     or practices, including but not limited to the use or
                     employment of any deception, fraud, false pretense, false
                     promise, misrepresentation or the concealment, suppression or
                     omission of any material fact, with intent that others rely upon
                     the concealment, suppression or omission of such material fact
                     . . . in the conduct of any trade or commerce are hereby
                     declared unlawful whether any person has in fact been misled,
                     deceived or damaged thereby.” 815 ILCS 505/2.

                     “Any person who suffers actual damage as a result of a
                     violation of this Act committed by any other person may bring

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                       an action against such person. The court, in its discretion may
                       award actual economic damages or any other relief which the
                       court deems proper.” 815 ILCS 505/10a.

  40.      Defendant violated the ICFA, namely 815 ILCS 505/2, by engaging in unfair, abusive,

and deceptive conduct in its transactions with Mr. Egle by, inter alia: (i) attempting to collect the

Subject Debts despite omitting the disclosure of any information to Mr. Egle whatsoever regarding

the Subject Debts’ time-barred status, namely, that Defendant could no longer sue Mr. Egle to

collect the Subject Debts and (ii) attempting to collect the Subject Debt despite omitting the

disclosure of any information to Mr. Egle whatsoever regarding the potential legal consequences

of Mr. Egle paying, or agreeing to pay, upon the Subject Debts.

  41.      Defendant knew, or should have known, that the Subject Debts were time-barred, yet

failed to provide complete and/or accurate disclosure of same to Mr. Egle.

  42.      Defendant intended that Mr. Egle rely on its misrepresentations and/or omissions in order

to procure immediate payment of the Subject Debts and/or prevent Mr Egle from exercising his

rights.

  43.      As set forth in paragraphs 24 through 28, above, Mr. Egle has been harmed and has

suffered damages as a result of Defendant’s unlawful collection practices as described in this

complaint.

  44.      As such, Mr. Egle is entitled to relief pursuant to 815 ILCS 505/10a.

  45.      Defendant’s actions as set forth in this complaint were malicious, willful and/or

undertaken with such reckless disregard of Mr. Egle’s rights that malice may be inferred,

subjecting Defendant to liability for punitive damages under the ICFA in such an amount to be

proved at trial.




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                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff, James A. Egle, respectfully requests that this Court enter judgment

in his favor as follows:

       A. Awarding Plaintiff actual damages, in such amounts as determined by the jury, as
          provided under 15 U.S.C. § 1692k and 815 ILCS 505/10a;

       B. Awarding Plaintiff statutory damages in the amount of $1,000.00, as provided under
          15 U.S.C. § 1692k(a)(2)(A);

       C. Awarding Plaintiff punitive damages, in such an amount as determined by the jury, as
          provided under 815 ILCS 505/10a;

       D. Awarding Plaintiff the costs of this action and reasonable attorneys’ fees, as provided
          under 15 U.S.C. § 1692k(a)(3) and 815 ILCS 505/10a; and

       E.   Awarding Plaintiff such other and further relief as may be just and proper.


DATED this 11th day of March, 2019.                    Respectfully Submitted,

                                                         /s/ H. Joshua Chaet
                                                       H. Joshua Chaet #6206717
                                                       David S. Klain #0066305
                                                       CONSUMER LAW PARTNERS, LLC
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                                                       Chicago, Illinois 60601
                                                       (267) 422-1000 (phone)
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                                                       josh.c@consumerlawpartners.com

                                                       Counsel for Plaintiff



                                          JURY DEMAND

     Pursuant to FED. R. CIV. P. 38(b), Plaintiff demands a trial to a jury on all issues of fact.

                                                       /s/ H. Joshua Chaet
                                                      H. Joshua Chaet #6206717
                                                      CONSUMER LAW PARTNERS, LLC
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